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UNITED sTATEs DISTRICT CoURT
WESTERN DISTRICT oF TENNESSEE 05 JUL -7 PH l= 2 g
Western Division

UNITED STATES OF AMERICA

 

-vs- Case No. 2:05cr20216-D

TERRANCE LEONARD

 

ORDER OF DETENT|ON PENDING TR|AL
FlND|NGS
In accordance with the Bail Reform Act, 18 U.S.C. § 3142(£), a detention hearing has been
held. The following facts and circumstances require the defendant to be detained pending trial.

No condition or combination of conditions of release will reasonably assure the
appearance of the defendant as required or the safety of any other person and the
community

This conclusion is based on the findings and analysis of the matters enumerated in 18 U.S.C.
§ 3142(g) as stated on the record in open court at the detention hearing

DlRECTlONS REGARD|NG DETENTlON

TERRANCE LEONARD is committed to the custody of the Attorney General orhis designated representative
for confinement in a corrections facility separate, to the extent practicable, from persons awaiting or serving sentences
or being held in custody pending appeal. TERRANCE LEONARD shall be afforded a reasonable opportunity for
private consultation with defense counsel. On order of a Court of the United States or on request of an attorney for the
government, the person in charge of the corrections facility shall deliver the Defendant to the United States marshal for
the purpose of an appearance in connection with a Court proceeding.

Date: July 6, 2005 5

S. THOMAS ANDERSON
UNITED STATES MAGISTRATE J'UDGE

  

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Notice of Distribution

This notice confirms a copy of the document docketed as number ll in
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ENNESSEE

 

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Honorable Bernice Donald
US DISTRICT COURT

